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                UNITED STATES DISTRICT COURT
               SOUTHERN DISTRICT OF NEW YORK
——————————————————x
MCLEAN GORDON,

                      Plaintiff,
                                                    Case No. 24-cv-6789 (ALC) (VF)
       -against-
                                                    Fed. R. Civ. P. 7.1 Statement

EQUITAS CAPITAL GROUP, LLC, and
ALEX LEYKIND,

         Defendants.
———————————————————x


       Pursuant to Fed. R. Civ. P. 7.1, the undersigned counsel for defendants Equitas Capital

Group, LLC, and Alex Leykind, hereby certifies the following:

       Equitas Capital Group, LLC, is fully owned by three individuals, which are defendant

Alex Leykind, an individual domiciled in Brooklyn, New York, Arsen Atbashyan, an individual

domiciled in Brooklyn, New York, and Denis Abayev, an individual domiciled in Brooklyn,

New York.

Dated: New York, New York
       May 1, 2025


                                            MILLER, LEIBY & ASSOCIATES, P.C.

                                            By: /s/ David Lewittes
                                                   David Lewittes, Esq.
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                                            Equitas Capital Group, LLC,
                                            and Alex Leykind
